                      UNITED STATES BANKRUPTCY COURT
                       EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION - DETROIT

In re:                                           )      Chapter 11
                                                 )
JOSEPH G. DUMOUCHELLE                            )      Case No. 19-54531
And MELINDA J. ADDUCCI,                          )
                                                 )
                  Debtors.                       )


                            NOTICE OF APPEARANCE
                      AND DEMAND FOR SERVICE OF PAPERS

             PLEASE TAKE NOTICE that pursuant to Federal Rule of Bankruptcy

Procedure 9010(b), the undersigned firm of attorneys are appearing for Teodor

Gelov. The undersigned requests that all notices given or required to be given in

this case and all papers served or required to be served in this case be given to and

served upon the undersigned at the following office address and telephone number:

                       Deborah S. Rubin, Esq.
                       Jaffe Raitt Heuer & Weiss, P.C.
                       27777 Franklin Road, Suite 2500
                       Southfield, MI 48034
                       phone—(248)351-3000
                       dmbin(S>i affelaw.com

         PLEASE TAKE FURTHER NOTICE that the foregoing demand

includes, without limitation, orders and notices of any application, motion, petition,

pleading, request, complaint or demand, whether formal or informal, whether




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 written or oral and whether transmitted or conveyed by mail, delivery, telephone

 facsimile or otherwise.




                                        JAFFE RAITT HEUER & WEISS, P.C.

 Dated: October 14, 2019                By:            /s/ Deborah S. Rubin
                                        Counsel to Teodor Gelov
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